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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA, - ORDER GRANTING MOTION
. FOR BAIL PENDING APPEAL
-against- 18 Cr. 15 (AKH)
EUGENE CASTELLE,
Defendant.
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ALVIN K. HELLERSTEIN, U.S.D.J.:

Defendant moves to be released on bail pending his appeal from his conviction
and sentence. See ECF No. 669. In light of Defendant’s ailing health and the concomitant risk
to Defendant from the COVID-19 pandemic, the Court grants Defendant’s motion. Defendant
shall be released on bail pending the outcome of his appeal pursuant to the same conditions that

governed his pre-trial release.

SO ORDERED.

Dated: March 31, 2020 LY. fe. ibn

New York, New York ALVIN K. HELLERSTEIN
United States District Judge
